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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                      8:08CR328
                              )
          v.                  )
                              )
LUIS VARGAS-GARCIA,           )                      ORDER
                              )
               Defendant.     )
______________________________)


          This matter is before the Court on plaintiff’s motion

for dismissal (Filing No. 66).       The Court finds the motion should

be granted.   Accordingly,

          IT IS ORDERED that plaintiff’s motion is granted; the

indictment herein is dismissed, without prejudice, as it relates

to the defendant Luis Vargas-Garcia.

          DATED this 18th day of October, 2012.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _____________________________
                                   LYLE E. STROM, Senior Judge
                                   United States District Court
